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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

JOE MIKE PARTNERSHIP II                            §
                                                   §
     Plaintiff,                                    §
                                                   §
v.                                                 §            CASE NO. 5:17-cv-1141-FB
                                                   §
GREAT LAKES REINSURANCE (U.K.)                     §
AND CLAIMS ADJUSTING GROUP,                        §
INC.                                               §
                                                   §
     Defendants.                                   §

                      ALTERNATIVE DISPUTE RESOLUTION REPORT

TO THE HONORABLE JUDGE OF THIS COURT:

        The parties, through their counsel, file this joint Alternative Dispute Resolution report

pursuant to Local Rule CV-88 and the Court’s Scheduling Order [Dkt. 8]. The parties would

show the Court as follows:

        1.        Status of settlement negotiations:     Plaintiff has provided a demand, but the

parties have not otherwise engaged in any settlement negotiations. The parties intend on

exchanging documents and conducting limited discovery, after which they plan on beginning

informal settlement negotiations.

        2.        Identity of persons responsible for settlement negotiations for each party:

                     a. Plaintiff:       Todd Lipscomb, counsel for Plaintiff;

                     b. Defendants:      Les Pickett and William Abbott, counsel for Defendants.

        3.        The parties do not believe that this case is ready for alternative dispute resolution,

but have agreed to reevaluate this position upon further completion of discovery or any rulings

on dispositive motions. When alternative dispute resolution becomes appropriate, the parties
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agree that mediation is the preferred method and have agreed to mediate before the close of

discovery on May 29, 2018. The parties further represent that they will agree on a mediator and

split mediation equally, with Plaintiff bearing one-half of the cost and Defendants bearing the

other half.


                                                   Respectfully submitted,

                                                   /s/ William D. Abbott
                                                   Les Pickett (Lead Counsel)
                                                     State Bar No. 15980520
                                                   William D. Abbott
                                                     State Bar No. 24087069


OF COUNSEL:
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ATTORNEYS FOR DEFENDANT



                                                   LOREE & LIPSCOMB

                                                   BY:    /s/ Todd Lipsomb___________
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                                                   ATTORNEY FOR PLAINTIFF




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                                CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing has been forwarded to the following
known counsel of record via Electronic Court Filing on 27th day of February, 2018:

Todd Lipscomb
LOREE & LIPSCOMB
The Terrace at Concord Park
777 E. Sonterra Blvd., Suite 320
San Antonio, Texas 78258

                                                    /s/ William D. Abbott
                                                    Les Pickett
                                                    William D. Abbott




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